Case 2:OO-cV-02656-.]PI\/| Document 198 Filed 08/29/05 Page 1 of 3 Page|D 323

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE HEDEL" ____3§
WESTERN DIVISION

 

BEAU'S£$_EH 2= 149
PHARMACIA COMPANY f/k/a )
MoNsAN'ro coMPANY, ) M M G.QULD
) CLEH& U.Sj D¥STR!CT OJ\BT
Plaintiff, 1 wm OF 1N, MEHPHS
)
v. ) Nb. 00-2656 Ml
)
WILLIAM TRANTHAM, )
)
Defendant. )

 

ORDER FOLLOWING TELEPI'IONE CON'FERENCE

 

A telephone conference in this cause was held on August 29,
2005, at 9:00 a.m. The United States was represented at the
conference by Barbara Zaccola, Esq. Plaintiff Pharmacia Company
f/k/a Monsanto Company was represented by Jack F. Marlow, Esq.

During the conference, the parties agreed to confer and
inform the Court of a date and time for a follow-up telephone
conference to discuss Plaintiff's Application for Conditional

Judgment.

So ORDERED this 439 day of August, ZZET.

am ill

JON P. MCCALLA
’I'ED STATES DIS'I‘RIC'I' JUDGE

 

Thls document entered on the docket§heze: compliance
w|th Hule 58 and!or 79(a) FF\CP on § § ) §

 

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This notice confirms a copy of the document docketed as number 198 in
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Honorable J on McCalla
US DISTRICT COURT

